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                                          UNITED STATES BANKRUPTCY COURT
                                           SOUTHERN DISTRICT OF FLORIDA


IN RE:                                                                                      CASE NO.: 22-13870-BKC-LMI
                                                                                       PROCEEDING UNDER Cl !APTER 13
JOSEFINA ALCAZAR


DEBTOR



      TRUSTEE'S MOTION TO DISMISS FOR FAILURE TO TIMELY PROVIDE THE TRUSTEE WITH
      DEBTOR'S FEDERAL TAX RETURN AND CERTIFICATE OF SERVICE OF NOTICE Of' HEARING


COMES NOW, Nancy K. Neidich, Standing Chapter 13 Trustee, by and through her undersigned counsel, and files the
instant Motion to Dismiss the Debtor(s) Petition for the following reasons:

1.   The   ~341   Meeting of Creditors was scheduled for 7/14/2022 11: 15 :OOAM

2.   The Trustee mailed a request for documents to the Debtor and Debtor's attorney, which requested in part, the
     Debtor provide to the Trustee a copy of their Federal income tax returns no later than seven (7) days before the 341
     Meeting of Creditors. U lJ.~,l=. ~. 52J(g)(J). See Trustee's Certificate of Service of Trustee's Notice of Required
     Documents

3.   The Trustee filed (and if'the debtor is prose served by mail) a notice of deficiency of' the missing documents

4.   As of' the end of' business 1I1I1 900 , the Trustee has not received the Debtor's comp !etc Federal    income tax returns.

5.   Pursuant to I   llJ.$,.C_.~lJQSu1)   the Debtor(s) must file:

     [N Jot later than the day before the date on which the meeting of the creditors is first scheduled to be held ... the
     debtor shall file with appropriate tax authorities all tax returns for all taxable periods ending during the 4-ycar period
     ending on the date of the filing of' the petition.


6.   The Debtor arc also required to provide the Trustee:

     [N Jot later than 7 clays before the date first set for the first meeting of creditors, ... a copy or the Federal income tax
     return required under applicable law ... for the most recent tax year ending immediately before the commencement
     of' the case and for which a Federal income tax return was filecl. lUJ.S.C.§.~-21(~).Gl(A)ffi.

7.   Furthermore, if the Debtor are not required under applicable law to file Federal income tax returns, Fed. Ji, .l1m1l<r. p.
     40Q2(b)(3) mandates that "[aJt least 7 days before the first date set for the meeting of creditors ... the [Debtor] shall
     provide to the [TJrustcc ... a written statement that the documentation docs not exist." Id.
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8.     The Debtor. by not providing the Trustee with either a copy of their Federal income tax return or a written statement
       that the documentation docs not exist have failed to comply withlllLS.<:;:"-_§-5.2l(e)(2)(A)(I) and Fed. R. Bankr. P. _
       _4_0_Q2(Q)..CD. Accordingly, dismissal of this case is warranted unless the Debtor(s) demonstrates that the failure to
       comply was due to circumstances beyond their control. 11 lJ .S.C. filL(g.)(2J@J.

9.     The Trustee's Office has reviewed this case as well as all possible exceptions to the required documentation but
       cannot determine ifthe case is confinnable. lLU.S.C.j.JJ.2Xa1(2). In addition, the Trustee has reviewed this case
       prior to Meeting of Creditors and will be reviewing the case again prior to the Confirmation Hearing.

       WHEREFORE, the Trustee requests that this case be dismissed and for any other such relief as may be deemed
necessary by the court.



                                                CERTIFICATE OF SERVICE


       I CERTIFY that a true and correct copy of the foregoing and the notice of hearing generated by ECF were served
            l~_ 1 '/&.1-'k______ upon
     JIJt,.;'{

By Mail:
DEBTOR
JOSEFINA ALCAZAR
14712SW 173ST.
MIAMI, FL 33187


Via Electronic Service:                                                         NANCY K. NEIDICH, ESQUIRE
DIEGO GERMAN MENDEZ,                                                            STANDING CHAPTER 13 TRUSTEE
ESQUIRE                                                                         P.O. BOX 279806
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